          Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 1 of 19




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK


 THE CLEMENTINE COMPANY, et al.,

                 Plaintiffs,
                                                 No. 1:20-cv-08899-CM
 v.

 ANDREW M. CUOMO, as governor of                   AMICUS BRIEF OF THE
 the State of New York, et al.,                  LIBERTY JUSTICE CENTER
              Defendants.


                                    INTRODUCTION

      “The First Amendment is a kind of Equal Protection Clause for ideas.” Barr v. Am.

Ass’n of Political Consultants, 140 S. Ct. 2335, 2354 (2020) (quoting Williams-Yulee

v. Florida Bar, 575 U.S. 433, 470 (2015) (Scalia, J., dissenting)). Governor Cuomo is

violating this fundamental guarantee of equal treatment for ideas, extending his

favor to certain speakers and their speech-based assemblies while denying it to

others, including the Plaintiffs.

      In doing so, the Governor allows some speech-based assemblies protected by the

First Amendment while barring other speech-based assemblies that enjoy the same

constitutional standing. This content- or medium-based discrimination is subject to

strict scrutiny. Assuming the government has a compelling interest in fighting the

COVID-19 pandemic, its method of granting exemptions is not narrowly tailored

because it treats speakers differently based solely on the content or medium of their

speech, which finds no justification in science or law. For this reason, the ban on

gatherings as applied to Plaintiffs must fail.
        Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 2 of 19




                                     ARGUMENT

   I.     Live theater performances are protected First Amendment
          expressive speech.

   “[T]he person asserting a First Amendment claim often has been a theater owner

. . .” who must come to court to protect “a free flow from creator to audience” and “free

access of the public to the expression.” Young v. Am. Mini Theatres, 427 U.S. 50, 77

(1976) (Powell, J., concurring). Courts have consistently held that artistic expression,

such as the live theater and comedy performances sponsored by Plaintiffs, are

protected by the First Amendment. Schad v. Mount Ephraim, 452 U.S. 61, 65 (1981)

(“live entertainment, such as musical and dramatic works, fall within the First

Amendment guarantee.”); Southeastern Promotions, Ltd. v. Conrad, 420 U.S. 546,

557–58 (1975); Rogers v. Grimaldi, 875 F.2d 994, 997 (2d Cir. 1989) (“Movies, plays,

books, and songs are all indisputably works of artistic expression and deserve

protection.”). See, e.g., Collins v. Ainsworth, 382 F.3d 529, 539 (5th Cir. 2004); B.

Cinevision Corp. v. City of Burbank, 745 F.2d 560, 568–69 (9th Cir. 1984); F. Manlove

v. Unified Gov’t of Athens-Clarke Cty., 680 S.E.2d 405, 407–08 (Ga. 2009).

   Moreover, theatrical, artistic, and musical expression is protected by the First

Amendment’s speech for three interrelated but important reasons. First, theatrical

and comedic speech about politics is speech about politics just as much as pundits’ or

politicians’ speech about politics. “Our nation boasts a long history of protecting

parody and satire. ‘[F]rom the early cartoon portraying George Washington as an ass

down to the present day, . . . satirical cartoons have played a prominent role in public

and political debate.’ [Hustler Magazine v. Falwell, 485 U.S. 46, 54 (1988)]. And


                                           2
       Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 3 of 19




parody, like all protected speech, need not be high-minded or respectful to find safe

haven under the First Amendment.” Novak v. City of Parma, 932 F.3d 421, 428 (6th

Cir. 2019). Numerous plays and musicals, both popular and avante garde, contain

extensive political commentary. See, e.g., Les Misérables, Evita, Hamilton. And it’s

hardly the comedians’ fault that many of their best laugh lines come at the expense

of politicians. See, e.g., Will Rogers (“I don’t make jokes. I just watch the government

and report the facts.” “Alexander Hamilton started the U.S. Treasury with nothing,

and that was the closest our country has ever been to being even.”). When theaters

and comedy clubs host these shows, they host core political speech, which is the very

heart of the First Amendment. Brown v. Entertainment Merchants Ass’n, 564 U.S.

786, 790 (2011).

   Second, theatrical and comedic performances are protected because “the line

between the informing and the entertaining is too elusive” for a court to distinguish

political and cultural commentary from entertainment. Iota Xi Chapter of Sigma Chi

Fraternity v. George Mason Univ., 993 F.2d 386, 390 (4th Cir. 1993) (citing Winters v.

New York, 333 U.S. 507, 510 (1948)). Whether a particular play is more inspirational

than informative is not a line for judges to draw: “it is difficult to distinguish politics

from entertainment, and dangerous to try.” Brown, 564 U.S. at 790.

   Third, artistic expression is also protected because the artistry is inherently

expressive speech, and the First Amendment protects speech beyond just the strictly

political. Ward v. Rock Against Racism, 491 U.S. 781, 790 (1989); Nat’l Endowment

for the Arts v. Finley, 524 U.S. 569, 602–03 (1998) (Souter, J., dissenting). The First



                                            3
       Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 4 of 19




Amendment applies whether to “the unquestionably shielded painting of Jackson

Pollock, music of Arnold Schoenberg, or Jabberwocky verse of Lewis Carroll.” Hurley

v. Irish–Am. Gay, Lesbian and Bisexual Group of Boston, 515 U.S. 557, 569 (1995).

   Finally, artistic expression is protected whether it is produced by a for-profit or

non-profit sponsor. Time Inc. v. Hill, 385 U.S. 374, 396–97 (1967) (“‘That books,

newspapers, and magazines are published and sold for profit does not prevent them

from being a form of expression whose liberty is safeguarded by the First

Amendment.’”) (quoting Joseph Burstyn, Inc. v. Wilson, 343 U.S. 495, 501–502

(1952)); Smith v. California, 361 U.S. 147, 150 (1959) (“It is of course no matter that

the dissemination [of books] takes place under commercial auspices.”); Perry v. L.A.

Police Dep’t, 121 F.3d 1365, 1368 (9th Cir. 1997) (“music [or] buttons . . . bearing

political, religious, and ideological messages” are “expressive items . . . [that] . . . do

not lose their constitutional protection simply because they are sold rather than given

away”); McClellan v. City of Alexandria, 363 F. Supp. 3d 665, 675 (E.D. Va. 2019)

(quoting Davenport v. City of Alexandria, 710 F.2d 148, 150 n.6 (4th Cir. 1983) (en

banc): “‘Live entertainment is protected speech’ even if it ‘generates a profit.’”). Thus,

that the Plaintiffs may be for-profit theater companies is of no moment to the level of

protection extended to their expression; the commercial nature does not transform

their artistry into commercial speech entitled to lesser protection. Coral Ridge

Ministries Media, Inc. v. Amazon.com, Inc., 406 F. Supp. 3d 1258, 1290 (M.D. Ala.

2019). In sum, the Plaintiffs’ expression is entitled to the protection of the First

Amendment.



                                            4
          Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 5 of 19




    II.     The Governor may not favor some gatherings protected by the First
            Amendment over other gatherings protected by the First
            Amendment.

    “There are certain constitutional red lines that a State may not cross even in a

crisis. Those red lines include racial discrimination, religious discrimination, and

content-based suppression of speech.” Calvary Chapel Dayton Valley, 140 S. Ct. at

2614-15 (Gorsuch, J., dissenting from denial of application). Unfortunately, the

Governor has done just that, preferring some speakers based on the content of their

speech while barring the speech of others.

    The Governor has done this in several ways. First, his order prefers certain types

of First Amendment assemblies over others. Under the Governor’s orders, a college

professor may exercise his right to speak and teach, a right protected by the First

Amendment, Sweezy v. New Hampshire, 354 U.S. 234, 250 (1957), with no explicit

restriction on class size. See Reopening New York—Higher Education Guidelines.1

Under the terms of the Governor’s orders, even setting aside Roman Catholic Diocese

of Brooklyn, a church or synagogue not in a colored ‘zone’ may hold an indoor service

at 33 percent capacity. See Reopening New York—Guidelines for Religious and

Funeral Services.2




1 Available at
https://www.governor.ny.gov/sites/governor.ny.gov/files/atoms/files/Higher_Educatio
n_Summary_Guidelines.pdf.
2 Available at

https://www.governor.ny.gov/sites/governor.ny.gov/files/atoms/files/ReligiousandFun
eralServicesSummaryGuidance.pdf
                                          5
       Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 6 of 19




   Beyond the Governor’s order itself, the Governor has also clearly communicated

that mass gatherings to convey a particular political message in support of police

reform and racial justice may occur without worrying about enforcement of the order.

Soos v. Cuomo, No. 1:20-cv-651 (GLS/DJS), 2020 U.S. Dist. LEXIS 111808, at *32

(N.D.N.Y. June 26, 2020) (“[B]y acting as they did [in their public statements praising

and encouraging the Black Lives Matter protests even during the pandemic],

Governor Cuomo and Mayor de Blasio sent a clear message that mass protests are

deserving of preferential treatment.”).

   If 50 people can gather to hear a professor’s lecture on politics or a priest’s sermon

on politics, but not a comedian’s satire on politics, the different treatment depends on

the nature of the content delivered at the event. Academic or religious content is

preferred; artistic or comedic content is banned. This is not a neutral time, place, and

manner restriction like a fire code or a conduct regulation that incidentally burdens

speech. See Barr 140 S. Ct. at 2347 (plurality) (robocall ban is not simply an economic

regulation). Because the difference in treatment is “based on the message the speaker

conveys,” it is content-based. Id. at 2346 (quoting Reed, 576 U.S. at 163). And content-

based classifications, whether they favor or disfavor a particular category of speech,

are subject to strict scrutiny. Id. at 2347 (quoting Reed, 576 U.S. at 170) (“Laws

favoring some speakers over others demand strict scrutiny when they legislature’s

speaker preference reflects a content preference.”); id. at 2346 (“Because the law

favors speech made for collecting government debt over political and other speech,




                                           6
       Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 7 of 19




the law is a content-based restriction on speech.”). Such preferences are

“presumptively unconstitutional.” Reed, 576 U.S. at 163.

   The Governor’s de jure protection for academic and religious speech and his ex

cathedra pronouncements protecting protest speech reflect content preferences that

are presumptively unconstitutional and can only survive if they pass strictest

scrutiny. This they cannot do.

   They cannot survive strict scrutiny for this simple fact: nothing inherent in the

content of religious or academic speech poses a substantially lesser risk of spreading

COVID than artistic or comedic speech. If 50 random strangers may gather in the

same room for a professor’s lecture or a priest’s sermon, then the government must

permit 50 people to gather in the same room for a comedian’s stand-up or an actor’s

monologue. When the primary difference depends on the content of the speech

delivered at the gathering, there is no sufficient rationale to treat them differently.

The Governor may be able in a pandemic to ban all lectures, sermons, and shows, but

he crosses a constitutional red line when he bans some but permits others.

   In short, the picking-and-choosing of which sectors get exemptions for their

speech-based gatherings does nothing to further the government’s interest. Rather,

it exists for the Governor’s political convenience or policy preference. And having

chosen to extend it, he must recognize that other similar speakers with similar status

under the First Amendment are entitled to similar treatment.

   This is especially egregious when one compares the Governor’s treatment of other

entertainment settings. A comedian can stand in front of 99 audience members and



                                          7
       Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 8 of 19




deliver his routine of political and cultural commentary, and as long as there is a

camera in the back broadcasting his act, it is entirely legal. Jon Campbell, “Saturday

Night Live wants a live audience? NY says crowd must be employees, cast,” Democrat

& Chronicle (Sept. 28, 2020).3 See Reopening New York—Media Production

Guidelines.4 And if a comedian taped his routine and the tape was played on a movie

theater’s big screen, that would be legal outside New York City as long as the theater

was under 25 percent capacity. See Reopening New York—Movie Theater Guidelines.5

But the same routine, with the same laugh lines about our elected officials and media

personalities, delivered live to an in-person audience without a camera in the back is

a $15,000 fine. See Executive Order No. 202.68 (Oct. 6, 2020). 6 See also Reopening

New York—Low-Risk Indoor Arts & Entertainment Guidelines7 (permitting indoor

institutions where patrons circulate through, such as “indoor museums, historical

sites, [and] aquariums,” to reopen, while not permitting artistic institutions with

seated patrons).

    The U.S. Supreme Court warned in Turner Broadcasting Systems: “Regulations



3 Available at https://www.democratandchronicle.com/story/news/2020/09/28/snl-
live-audience-covid-restrictions/3494153001/.
4 Available at

https://www.governor.ny.gov/sites/governor.ny.gov/files/atoms/files/MediaProduction
ShortGuidance.pdf.
5 Available at

https://www.governor.ny.gov/sites/governor.ny.gov/files/atoms/files/Movie_Theater_
Summary_Guidelines.pdf.
6 Available at

https://www.governor.ny.gov/sites/governor.ny.gov/files/atoms/files/EO202.68.pdf
7 Available at

https://www.governor.ny.gov/sites/governor.ny.gov/files/atoms/files/LowRiskIndoorA
rtsEntertainmentSummary.pdf.
                                          8
          Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 9 of 19




that discriminate among media, or among different speakers within a single medium,

often present serious First Amendment concerns.” Turner Broad. Sys. v. FCC, 512

U.S. 622, 660 (1994). Minneapolis Star & Tribune Co. v. Minnesota Comm’r of

Revenue, 460 U.S. 575 (1983), and Arkansas Writers’ Project v. Ragland, 481 U.S. 221

(1987), both applied strict scrutiny to laws that targeted particular classes of media

while exempting other classes of similar media (in one instance, only large

newspapers were taxed; in the other, only small magazines were taxed). The Court

struck down these laws because they “targeted a small number of speakers, and thus

threatened to distort the market for ideas.” Turner Broad. Sys., 512 U.S. at 661. This

Court should do the same here, where live-audience performances are targeted for

different treatment than broadcast-audience performances or taped theater shows. If

100 people may gather in the same room for a comedy show that goes on television,

the economic importance of broadcast media to New York’s overall economy is not a

compelling reason to stop 100 people from gathering in the same room for a show that

doesn’t go on television.

   III.     The Governor may not favor religious gatherings over other types
            of   assemblies  protected     by    the   First   Amendment.

   This Court put its finger on the crux of an important question when it wrote in its

order of December 11, “Both religion and theatre implicate the exercise of First

Amendment rights, and the prioritization of religious events over secular artistic

events that enjoy First Amendment free speech protection raises potentially thorny

questions.” ECF Doc. 42, at 4. The questions may be thorny, but the answer should




                                          9
       Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 10 of 19




be clear: the government may not prefer religious speakers over non-religious

speakers.

    Even before Roman Catholic Diocese of Brooklyn was decided, the Governor had a

preference for religious assemblies. Under the Governor’s order, a church or

synagogue not in a Phase 4 region may hold an indoor service at 33 percent of a room’s

seating capacity. See Reopening New York—Guidelines for Religious and Funeral

Services.8 Thus, a nondenominational church may rent a small-venue theater with a

seating capacity of 144 for a service on Sunday morning with 48 congregants. But the

same small-venue theater could not host an afternoon matinee or evening

performance of a musical for 48 patrons. In both scenarios, the attendees are seated,

singing occurs, and First Amendment-protected speech is delivered to the assembly.

The only difference between the two assemblies is the content of the speech delivered.

    The Governor may reply that it is constitutional for him to prefer religious

assemblies, citing Illinois Republican Party v. Pritzker, 973 F.3d 760 (7th Cir. 2020).

Amicus was counsel for the plaintiffs in that case, and believes it was wrongly decided

and is an untrustworthy guide to this Court.

    First, the Seventh Circuit failed in its duty to apply strict scrutiny to the

Governor’s order. In Reed v. Town of Gilbert, this Court held that a restriction on

speech that is content-based is subject to strict scrutiny. 576 U.S. 155, 163 (2015).

Laws subject to strict scrutiny are “presumptively unconstitutional,” id., because the



8Available at
https://www.governor.ny.gov/sites/governor.ny.gov/files/atoms/files/ReligiousandFun
eralServicesSummaryGuidance.pdf
                                          10
       Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 11 of 19




government must prove that its restriction is narrowly tailored to a compelling

interest.

   The District Court in Illinois Republican Party correctly concluded the governor’s

order in this case is a content-based restriction. Ill. Republican Party v. Pritzker, No.

20 C 3489, 2020 U.S. Dist. LEXIS 116383, at *16 (N.D. Ill. July 2, 2020). Therefore,

“[b]ecause the exemption is a content-based restriction, this provision can only stand

if it survives strict scrutiny.” Id. at *21.

   Even though this was a core holding of the court below, the Seventh Circuit failed

in its duty to apply strict scrutiny to the order. At no point in its analysis of the

plaintiffs’ claims does the Seventh Circuit mention strict scrutiny, identify a

compelling interest justifying the gatherings ban, or ask whether the ban is narrowly

tailored to that interest. The entire focus of the opinion is on “the government’s benign

motive” for its preference for religious speech, but Reed makes clear these motives do

not matter: “[a] law that is content based on its face is subject to strict scrutiny

regardless of the government’s benign motive . . .” 576 U.S. at 165. Accord id. at 164-

65 (“We thus have no need to consider the government’s justifications or purposes for

enacting the Code to determine whether it is subject to strict scrutiny . . .”); id. at 167

(“the First Amendment expressly targets the operation of the laws—i.e., the

‘abridg[ement] of speech’—rather than merely the motives of those who enacted

them.”).

   The Seventh Circuit’s failure here is in stark contrast to the Supreme Court’s most

recent case applying Reed and to its sister circuits, all of which have applied strict



                                               11
       Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 12 of 19




scrutiny as directed in their post-Reed cases. See, e.g., Barr v. Am. Ass’ n of Political

Consultants, 140 S. Ct. 2335, 2347 (2020) (plurality); id. at 2364 (Gorsuch, J.,

concurring/dissenting); Reagan Nat’l Advert. of Austin v. City of Austin, No. 19-50354,

2020 U.S. App. LEXIS 27276, at *26 (5th Cir. Aug. 25, 2020); Thomas v. Bright, 937

F.3d 721, 733 (6th Cir. 2019); Free Speech Coal., Inc. v. Atty. Gen. United States, 825

F.3d 149, 164 (3d Cir. 2016); Cahaly v. Larosa, 796 F.3d 399, 405 (4th Cir. 2015).

   Second, the Seventh Circuit erred in permitting the government to “balance”

multiple competing compelling interests. While defending its exemption for religion,

the government offered a simple explanation for its policy. The governor said that he

had a compelling interest in fighting COVID-19 but also a compelling interest in

extending a special solicitude toward the free exercise of religion (one that goes

beyond the minimum required by the Free Exercise Clause). See Ill. Republican Party

v. Pritzker, 973 F.3d 760, 761 (7th Cir. 2020). Without applying the strict scrutiny

test, the Seventh Circuit’s opinion adopted this rationale, finding the governor’s

desire to extend special treatment to religion a sufficient justification to grant it the

ability to gather which was denied to all others. Id. at 769.

   If this is so, then the Town of Gilbert should have won its case by arguing that its

ordinance balanced its compelling interest in aesthetics and traffic safety with a

compelling interest in honoring political speech near in time to an election (even if

this solicitude for political signage wasn’t mandated by the Free Speech Clause). The

general ordinance was justified by the first compelling interest, and the exception

was justified by the second compelling interest, and the ordinance was the



                                           12
       Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 13 of 19




government’s best effort to strike a balance. That is the logic of the governor’s

position.

   Similarly, the U.S. Government should have won Barr by saying it was balancing

its compelling interest in preventing annoying phone calls with its compelling

interest in minimizing the tax burden by collecting debts owed to the Treasury. See

Barr v. Am. Ass’n of Political Consultants, 140 S. Ct. 2335 (2020).

   As these two examples illustrate, to permit this style of analysis is to eviscerate

the strict-scrutiny test. Under the Seventh Circuit’s framework, the government may

undermine its compelling interest in any policy for any reason that it also deems

compelling enough to justify the exception it desires. Virtually any regime that is

underinclusive can be justified by such an approach, which would undermine

numerous precedents of the Supreme Court.

   Third and finally, the Seventh Circuit’s preference for religious speech over

political speech is fundamentally incompatible with Reed. In Reed, the Supreme

Court considered a town sign code that privileged signs with ideological messages

over political messages, and signs with political messages over “temporary directional

signs” that point people to, among other things, church services. 576 U.S. at 159-61.

Finding the town’s preference for ideological and political signs over church signs was

not content neutral, the Court applied strict scrutiny, which the code flunked.

   “In order to make Reed comparable to the case before us, we would need to

postulate a Sign Code that restricted temporary directional signs for everyone except

places of worship, and that left the latter free to use whatever signs they wanted.”



                                          13
      Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 14 of 19




973 F.3d at 768. The Seventh Circuit then entered on precisely this analysis: an

executive order that restricted gatherings for everyone except places of worship, and

that left the latter free to hold whatever religious gatherings they wanted. Without

applying strict scrutiny, the court concluded that such an exception is entirely

acceptable under Reed because “the speech that accompanies religious exercise has a

privileged position under the First Amendment . . .” Id. at 764.

   None of the Supreme Court’s cases have ever held that religious speech may be

treated better than other kinds of speech. The Court has routinely held that religious

speech cannot be treated worse than other categories or viewpoints of speech. See,

e.g., Rosenberger v. Rector & Visitors of the Univ. of Va., 515 U.S. 819 (1995). But

none have held that religious speech is so special that government may discriminate

in favor of religious speech over other types of speech. Truly the Seventh Circuit had

to “break new ground here.” 973 F.3d at 768.

   But the Seventh Circuit’s new ground is really just sinking sand. The logic of Reed

and the Supreme Court’s other cases compel the conclusion that religious speakers

cannot be preferred over other types of speakers when making pure policy choices.

Reed makes clear: “laws favoring some speakers over others demand strict scrutiny .

. . ” 576 U.S. at 170. Here the government has a compelling interest in combatting

COVID-19.

   But the governor’s exemption for religious gatherings undermines, rather than

supports, this interest. “A law cannot be regarded as protecting an interest of the

highest order, and thus as justifying a restriction on truthful speech, when it leaves



                                          14
        Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 15 of 19




appreciable damage to that supposedly vital interest unprohibited.” Reed, 576 U.S.

at 172 (quoting Republican Party of Minn. v. White, 536 U.S. 765, 780 (2002)). The

religion exemption does do appreciable damage to the government’s interest in

fighting COVID; a Centers for Disease Control report lists churches and church choirs

alongside hospitals and nursing homes as sites of high transmission rates. Allison

James, et al., “High COVID-19 Attack Rate Among Attendees at Events at a Church

— Arkansas, March 2020,” Morbidity and Mortality Weekly Report (May 22, 2020).9

The New York Times has reported, “new outbreaks of the coronavirus are surging

through churches across the country where services have resumed.” Kate Conger, et

al., “Churches Were Eager to Reopen. Now They Are Confronting Coronavirus Cases.”

N.Y. TIMES (July 10, 2020).10 That allowing religious services to resume may well

be worth the price of an uptick in cases, but that policy judgment doesn’t change the

fact that the governor’s exemption substantially undermines his asserted compelling

interest.

     Thus, all the governor can claim is that he is balancing competing compelling

interests in fighting COVID while going above-and-beyond to honor religious

exercise. That may be a benign motive for his exemption, but it opens the door to

justifying countless exemptions as justifying by competing compelling interests. As is

explained above, allowing this sort of analysis framework will end the strict scrutiny

test as we know it.



9Available at https://www.cdc.gov/mmwr/volumes/69/wr/mm6920e2.htm.
10Available at https://www.nytimes.com/2020/07/08/us/coronavirus-churches-
outbreaks.html.
                                         15
         Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 16 of 19




   The Seventh Circuit concludes this section of its opinion by saying, “Reed therefore

does not compel the Governor to treat all gatherings alike, whether they be of

Catholics, Lutherans, Orthodox Jews, Republicans, Democrats, University of Illinois

alumni, Chicago Bears fans, or others.” 973 F.3d at 769-70. This flies in the face of

Reed. Nothing in Reed’s analysis depended on the fact that Pastor Reed sought to put

up a sign for a specifically religious event. Had a Cub Scout troop sued seeking to put

up a sign rather than a church, the outcome would have been exactly the same.

   The Constitution commands that “entities of similar character” are entitled to

similar treatment. See Perry Educ. Ass’n v. Perry Local Educators’ Ass’n, 460 U.S. 37,

48 (1983). The Governor’s Order fails that promise of equal protection by extending

its beneficence to some constitutional characters, like priests and professors, and

even to some actors and comedians, while denying it to other actors and comedians,

such as Plaintiffs.

   IV.     The Governor may not use Jacobson to justify unequal treatment.

   Since the COVID-19 pandemic began, courts have struggled with how to reconcile

a century-old precedent, Jacobson v. Massachusetts, 197 U. S. 11 (1905), with modern

tiers-of-scrutiny and other frameworks. Here, two principles, which are really two

sides of the same coin, provide the path forward.

   First, though an executive may constitutionally suspend the exercise of

constitutional rights during a pandemic, Jacobson, 197 U.S. at 27–29, it does not

follow that he may pick-and-choose who gets exemptions to that suspension based on

the content of their speech. Jacobson only allows treating dissimilar gatherings

differently. See S. Bay United Pentecostal Church v. Newsom, 140 S. Ct. 1613, 1613
                                          16
       Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 17 of 19




(2020) (Roberts, C.J., concurring) (the governor’s order barring church gatherings

treated “comparable secular gatherings” the same and treated “only dissimilar

activities” differently).

   Jacobson is not such an open-ended warrant of unlimited, unfettered discretion

that a court must sit idly by if the Governor permitted Catholics to gather but barred

Lutherans from doing so, or that he allowed Democratic rallies but not Republican

ones. In fact, at a time when the executive wields the greatest power, courts should

be especially vigilant to ensure that power is applied fairly for the good of all, and

especially skeptical of exemptions granted only to a chosen few. Jacobson grants

tremendous power to the executive in a crisis. But that power does not include the

right to discriminate on a non-medical basis in the exercise of constitutional rights.

See Trump v. Hawaii, 138 S. Ct. 2392, 2423 (2018) (even during a crisis like World

War II, discrimination “solely and explicitly on the basis of race[ ] is objectively

unlawful.”). If he cannot discriminate between Catholics and Lutherans, he may not

discriminate between broadcast comedians and in-person-audience comedians as

long as both follow the same rule (say, the 100-person cap).

   Second, it is important to remember the context in which Jacobson arose:

universal vaccination to stop the spread of smallpox. The health regulation at issue

in that case would have been severely undermined by any exceptions. In fact, the

Court dedicates a paragraph to the question of exceptions. Massachusetts’

vaccination regulation made “an exception in favor of children certified by a

registered physician to be unfit subjects for vaccination, [but] makes no exception in



                                         17
      Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 18 of 19




the case of adults in like condition.” Jacobson, 197 U.S. at 30. The Court upheld this

distinction, reasoning, “this cannot be deemed a denial of the equal protection of the

laws to adults; for the statute is applicable equally to all in like condition and there

are obviously reasons why regulations may be appropriate for adults which could not

be safely applied to persons of tender years.” Id. Though the Court did not use the

terminology at the time, we would today call this a question of tailoring. In Jacobson,

the Court decided that children were sufficiently different from adults to justify an

exception for one category of persons but not the other. Had the Massachusetts

statute exempted one group of politically powerful adults, no doubt the Court would

have come out differently. Here, there is no compelling reason, medical or otherwise,

to treat actors’ speech different from professors’ speech, or broadcast comedy speech

different from non-broadcast comedy speech, so the difference in treatment cannot be

sustained even under Jacobson.

   This Court should join the Sixth Circuit in its conclusion that events that follow

“the same risk-minimizing precautions as similar . . . activities” permit no greater

harm to others than the Governor already allows, and “treatment of similarly

situated entities in comparable ways serves public health interests at the same time

it preserves bedrock [constitutional] guarantees.” Roberts v. Neace, 958 F.3d 409, 416

(6th Cir. 2020).

                                   CONCLUSION

      Judge Ho’s concurring opinion in Spell v. Edwards, 962 F.3d 175, 183 (5th Cir.

2020) is an apt coda to this case: “Government does not have carte blanche, even in a

pandemic, to pick and choose which First Amendment rights are ‘open’ and which
                                          18
       Case 1:20-cv-08899-CM Document 47-1 Filed 01/08/21 Page 19 of 19




remain ‘closed.’ . . . The First Amendment does not allow our leaders to decide which

rights to honor and which to ignore. In law, as in life, what’s good for the goose is good

for the gander. In these troubled times, nothing should unify the American people

more than the principle that freedom for me, but not for thee, has no place under our

Constitution.” Freedom for priests and professors and broadcast actors and

comedians must include freedom for Plaintiffs as well under the same set of rules.

Dated: January 8, 2021                          Respectfully Submitted,

                                                By:    /s/ Daniel R. Suhr

Daniel R. Suhr
Jeffrey M. Schwab
Liberty Justice Center
208 S. LaSalle St., Ste. 1690
Chicago, IL 60604
Telephone 312-637-2280
dsuhr@libertyjusticecenter.org
jschwab@libertyjusticecenter.org
Attorneys for Amicus




                                           19
